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                           Accounting for Loans to Evan Jowers from September 30, 2016 Present

  Date       "Zero" Loan    Revolving Loan Forgiveable Loan Jowers Credits Transaction Description

1/26/2021       0 00         (82,246.90)     (25,734.27)         0.00       <    Present Value of Each Loan as of Date Shown


 9/30/2016   (30,000 00)     (93,009.74)      (25,711.92)                   Balance as of 9/30/2016
10/15/2016                   (10,000.00)                                    loan of $10,000 to Jowers in paycheck
10/15/2016                                      (12.21)                     Interest accrued 9/30 10/15 on Forgivable Loan

10/15/2016                                                      243.94      Payroll gross up in 10/15 paycheck withheld to repay Forgivable Loan
                                                                            Withholding from 10/15 paycheck applied to repayment of Forgivable
10/15/2016                                      12.21           (12.21)     Loan interest
                                                                            Withholding from 10/15 paycheck applied to repayment of Forgivable
10/15/2016                                      231.73          (231.73)    Loan principal
10/18/2016                   (10,309.93)                                    Loan to Jowers by sending money to Four Seasons Hong Kong
10/25/2016                    (3,000.00)                                    Loan to Jowers sent by wire to Jowers FL bank account
10/31/2016                                                     51,387.39    Withholding from 10/31/2020 paycheck for loan repayment
                                                                            Withholding from 10/31 paycheck applied to repayment of Revolving
10/31/2016                    51,387.39                       (51,387.39)   Loan accrued interest and principal
10/31/2016                                      (12.10)                     Interest accrued 10/16 10/31 on Forgivable Loan

10/31/2016                                                      243.94      Payroll gross up in 10/31 paycheck withheld to repay Forgivable Loan
                                                                            Withholding from 10/31 paycheck applied to repayment of Forgivable
10/31/2016                                      12.10           (12.10)     Loan interest
                                                                            Withholding from 10/31 paycheck applied to repayment of Forgivable
10/31/2016                                      231.84          (231.84)    Loan principal
11/15/2016                                                     17,958.28    Withholding from 11/15/2016 paycheck for loan repayment
                                                                            Interest accrual from 10/31 11/15 (15 days) on principal balance of
11/15/2016                     (459 94)                                     $64,932.28 at daily rate of 0 0472222%
                                                                            Applied setoff from 11/15/2016 paycheck to pay off interest accrued on
11/15/2016                     459 94                           (459.94)    Revolving Loan
                                                                            Applied remaining setoff from 11/15/2016 paycheck to reduce
11/15/2016                    17,498.34                       (17,498.34)   Revolving Loan principal balance to $47,433.94
11/15/2016                                      (11.99)                     Interest accrued 11/1 11/15 for Forgivable Loan

11/15/2016                                                      243.94      Payroll gross up in 11/15 paycheck withheld to repay Forgivable Loan
                                                                            Withholding from 11/15 paycheck applied to repayment of Forgivable
11/15/2016                                      11.99           (11.99)     Loan interest
                                                                            Withholding from 11/15 paycheck applied to repayment of Forgivable
11/15/2016                                      231.95          (231.95)    Loan principal
11/30/2016                                      (11.88)                     Interest accrued 11/15 11/30 for Forgivable Loan

11/30/2016                                                      243.94      Payroll gross up in 11/30 paycheck withheld to repay Forgivable Loan
                                                                            Withholding from 11/30 paycheck applied to repayment of Forgivable
11/30/2016                                      11.88           (11.88)     Loan interest
                                                                            Withholding from 11/30 paycheck applied to repayment of Forgivable
11/30/2016                                      232.06          (232.06)    Loan principal
                                                                            No commission earned for placement of Hui Xu ($41,009.00 gross)
12/13/2016                                                       0 00       received 12/14, after payroll closed
12/15/2016                                      (11.77)                     Interest accrued 12/1 12/15 for Forgivable Loan

12/15/2016                                                      243.94      Payroll gross up in 12/15 paycheck withheld to repay Forgivable Loan
                                                                            Withholding from 12/15 paycheck applied to repayment of Forgivable
12/15/2016                                      11.77           (11.77)     Loan interest
                                                                            Withholding from 12/15 paycheck applied to repayment of Forgivable
12/15/2016                                      232.17          (232.17)    Loan principal
                                                                            Interest accrual from 11/15 to 12/15 (30 days) on principal balance of
12/15/2016                     (671 98)                                     $47,433.94 at daily rate of 0 0472222%
12/15/2016                                                     30,147.85    Withholding from 12/15 pay check for loan repayment
                                                                            Applied setoff from last paycheck to pay off interest accrued on
12/15/2016                     671 98                           (671.98)    Revolving Loan
                                                                            Withholding from 12/15 paycheck applied as setoff of "zero interest"
12/16/2016   30,000 00                                        (30,000.00)   loan upon resignation of Jowers

                                                                            Interest accrual from 12/15/2016 to 1/31/2017 (47 days) on principal
1/31/2017                     (1,052.77)                                    balance of $47,433.94 at daily rate of 0 0472222%
                                                                            Applied setoff from last paycheck to pay off interest accrued on
1/31/2017                     1,052.77                         (1,052.77)   Revolving Loan

1/31/2017                     (1,576.90)                       1,576 90     Applied remaining balance of last last check as setoff to Revolving Loan

1/26/2021                    (33,236.06)      (1,182.10)                    Interest accrued from 1/31/2017 to present day
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                                                                  Interest Calculations

                               Revolving Loan Calculations
                               Interest accrues at 17% annual rate (simple interest)
                               Daily rate (.17/360)                                           0.047222222%
                               Last balance                                                      (49,010 84)
                               Daily & Accrual Interest                                   $           23.14
                               Date of interest start                                             1/31/2017
                               Today                                                              1/26/2021
                               Total days                                                              1456
                               Total Interest since 1/31 balance                          $       33,236 06




                               Forgivable Loan Calculations
                               Interest accrues at 1.17% annual rate (simple interest)
                               Daily rate ( 0117/365)                                             0 00321%
                               Last balance                                                     (24,552.17)
                               Daily & accural                                            $           0.79
                               Date of interest start                                           12/16/2016
                               Today                                                             1/26/2021
                               Total days                                                             1502
                               Total Interest since 1/31 balance                          $       1,182.10
